            Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 1 of 29



                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                             BALTIMORE DIVISION

UNDER ARMOUR, INC.                                   )
 1020 Hull Street                                    )
 Baltimore, Maryland 21230,                          )          CIVIL ACTION NO.
                                                     )          15-cv-95
                       Plaintiff,                    )
                                                     )          JURY TRIAL
                v.                                   )          DEMANDED
                                                     )
SALT ARMOUR, INC.                                    )
 21526 Sweetwater Lane S                             )
 Boca Raton, Florida 33428,                          )
                                                     )
                       Defendant.                    )
                                                     )

                                          COMPLAINT

       Plaintiff, Under Armour, Inc. (“Under Armour”), alleges as follows, upon actual

knowledge with respect to itself and its own acts, and upon information and belief as to all other

matters:

                                    NATURE OF THE ACTION

       1.       This is a civil action for trademark infringement, trademark dilution, unfair

competition, and cybersquatting under the Lanham Act, 15 U.S.C. § 1051, et seq. and/or

Maryland statutory and common law. Under Armour seeks equitable and monetary relief from

Defendant’s willful violations of Under Armour’s trademark rights in its famous UNDER

ARMOUR mark and other ARMOUR-formative marks (the “ARMOUR Marks”).

       2.       Defendant has been offering for sale, selling, and promoting clothing, accessories,

sporting goods, fishing and tactical gear, and related products under the SALT ARMOUR and

DEFENSE ARMOUR names and marks in violation of Under Armour’s trademark rights. As a

result of Defendant’s use of SALT ARMOUR and DEFENSE ARMOUR in connection with its

                                                 1
            Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 2 of 29



products, activities, and promotions, consumers are likely to believe Defendant and/or its

products are made, approved, or licensed by Under Armour.

                                             PARTIES

       3.       Plaintiff Under Armour is a Maryland corporation with a principal place of

business at 1020 Hull Street, Baltimore, Maryland 21230.

       4.       Defendant Salt Armour, Inc. is a Florida corporation with a principal place of

business at 21526 Sweetwater Lane S, Boca Raton, Florida 33428.

                                 JURISDICTION AND VENUE

       5.       This Court has jurisdiction over the subject matter of this action pursuant to 15

U.S.C. § 1121 and 28 U.S.C. §§ 1331, 1338(a) and (b). Because Under Armour is a citizen of

the State of Maryland, Defendant is a citizen of the State of Florida, and the matter in

controversy exceeds $75,000 exclusive of interest and costs, the Court also has jurisdiction under

28 U.S.C. § 1332. The Court has supplemental jurisdiction over Under Armour’s state-law

claims pursuant to 28 U.S.C. § 1367(a) because they are substantially related to its federal claims

and arise out of the same case or controversy.

       6.       This Court has specific personal jurisdiction over Defendant because it has

purposefully availed itself of the privilege of conducting business in Maryland. Defendant

offers, markets, and promotes its products bearing the marks that are the subject of this lawsuit

through its website and other means to consumers located in Maryland and uses those marks to

promote and advertise its products in Maryland and elsewhere.

       7.       Venue lies in this District pursuant to 28 U.S.C. § 1391(b) and (c) because a

substantial part of the events giving rise to Under Armour’s claims have occurred and are




                                                  2
            Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 3 of 29



continuing to occur in this District and Under Armour’s trademarks at issue are located in this

District, where Under Armour maintains its principal place of business.

       UNDER ARMOUR, ITS PRODUCTS, AND ITS ARMOUR TRADEMARKS

       8.       Under Armour is one of the world’s most successful, popular, and well-known

providers of performance apparel, footwear, sporting goods, outdoor apparel and goods

(including fishing, hunting, and tactical), and accessories. Through Under Armour’s innovative

use of advanced engineering and technology, it has revolutionized the performance-product

industry. In 2014 alone, Under Armour sold more than $ 3 billion worth of products.

       9.       Since at least as early as 1996, Under Armour has continuously used and

promoted the UNDER ARMOUR name/mark for apparel.

       10.      Over the years, Under Armour has expanded to a wide range of other products

and services, including but not limited to a full line of athletic clothing, footwear, and headwear;

fishing clothing, accessories, and gear; safety gear; tactical gear; workwear; hunting gear; and

sports equipment. The distinctive UNDER ARMOUR name/mark has been used and promoted

across Under Armour’s extensive product line.

       11.      In addition to its UNDER ARMOUR name/mark, Under Armour has used and

promoted the ARMOUR mark alone and numerous other ARMOUR Marks in connection with

its wide range of products and services, including, for example, GAMEDAY ARMOUR,

OFFSHORE ARMOUR, ARMOURBLOCK, ARMOUR STRETCH, ARMOURSTORM,

ARMOUR GRABTACK, ARMOURVENT, ARMOUR FLEECE, ARMOUR SELECT,

ARMOURLOFT, ARMOURGRIP, ARMOURCHILL, ARMOURSIGHT, and

ARMOURSTEALTH, among others. These ARMOUR-formative marks have been used and




                                                 3
         Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 4 of 29



promoted individually and/or together, and consumers have come to associate the ARMOUR

portion of the marks with UNDER ARMOUR.

            Under Armour’s Fishing, Camouflage, and Tactical Clothing and Gear

      12.      Among its products, Under Armour has for years offered a variety of apparel and

accessories for fishing, including under its UNDER ARMOUR, OFFSHORE ARMOUR, and

other ARMOUR Marks, e.g.:




                                               4
         Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 5 of 29




       13.    Additionally, as noted below, Under Armour sponsors and promotes the “Under

Armour Fishing Team.”

       14.    Under Armour has also offered a variety of camouflage clothing/accessories and

tactical clothing and gear under its various ARMOUR Marks, e.g.:




                                              5
          Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 6 of 29




         Under Armour’s Sales and Promotion of Its ARMOUR-Branded Products

       15.     Under Armour has sold billions of dollars-worth of products under the UNDER

ARMOUR and other ARMOUR Marks. Those products are promoted, offered, and sold

nationwide through a wide variety of retail means, including but not limited to thousands of retail

stores. These retail stores include Under Armour’s own Factory and Brand House retail stores,

as well as national, regional, independent, and specialty retailers such as Academy Sports &

Outdoors, Bass Pro Shops, Cabela’s, Foot Locker, Finish Line, The Sports Authority, Dick’s

Sporting Goods, Macy’s, Dunham’s, Modell’s, Hibbett Sports, Nordstrom, and The Army and Air

Force Exchange Service.

       16.     For years, Under Armour has spent tens of millions of dollars annually

advertising and promoting its ARMOUR Marks and products to the general public. Under

Armour has widely and extensively promoted its ARMOUR Marks and products through

virtually every available type of print and digital media, including but not limited to print

publications, signage, television, and/or the Internet.

       17.     With respect to publications and signage, Under Armour has advertised and

promoted its ARMOUR Marks and products in a wide variety of nationally circulated magazines

and newspapers. Further, the ARMOUR Marks have been featured on billboards and other

                                                  6
         Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 7 of 29



signage in various cities, including but not limited to Baltimore, Philadelphia, and New York

City’s Times Square.

       18.     Under Armour has advertised and promoted its ARMOUR Marks and products

through television commercials, including a television commercial during the Super Bowl,

product placement in popular movies, national television programs, including the Ridge Reaper

hunting show on the Outdoor Channel, fishing shows Into the Blue and Spanish Fly, video

games, and coverage of sporting events featuring its branded products, among other means.

       19.     Under Armour also promotes and showcases its UNDER ARMOUR and other

ARMOUR Marks and products on its own and authorized websites and social-media sites,

including but not limited to www.underarmour.com, www.facebook.com/underarmour, and

www.twitter.com/underarmour, among others, as well as through Under Armour’s catalogs.

Further, Under Armour’s ARMOUR Marks and products are advertised and/or sold through

many of its retailers’ websites, including but not limited to the websites used by Bass Pro Shops,

Bloomingdales.com, Cabela’s, City Sports, Dick’s Sporting Goods, Eastbay, Eastern Mountain

Sports, Finish Line, Foot Locker, Gilt Groupe, Hibbett, LL Bean, Lord & Taylor, Macys.com,

MC Sports, Modell’s, Nordstrom, Sportsman’s Guide, and Sportsman’s Warehouse.

       20.     Sponsorships, outfitting agreements, and individual athlete agreements represent

another significant form of advertising and promotion by Under Armour. Under Armour’s

ARMOUR Marks are promoted through high-profile athletes and teams at the youth, collegiate,

professional, and Olympic levels.

       21.     Since 2006, Under Armour has been an authorized supplier of footwear to the

NFL and is currently also the official performance footwear supplier to the MLB and authorized

supplier of gloves to the NFL.



                                                7
         Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 8 of 29



       22.     In addition to its own substantial advertising and promotional activities, Under

Armour and its ARMOUR Marks and products have received and continue to receive

widespread unsolicited media coverage. Indeed, many of the athletes, teams, and sporting events

sponsored by Under Armour appear on nationally broadcast television programs and in widely

circulated publications, exposing tens of millions of consumers to the ARMOUR Marks.

       23.     Under Armour has received numerous awards for its commercial success in

connection with the development of its innovative and technologically enhanced products and its

marketing and branding achievements. In 2014, Under Armour received the prestigious

“Marketer of the Year” Award from Advertising Age magazine. Additionally, Yahoo Finance

named Under Armour the 2014 “Company of the Year.”

       24.     As a result of its distinctive nature, and thus inherent strength; widespread

advertising, publicity, promotion, and sales; and longstanding and extensive use and recognition,

the UNDER ARMOUR mark has been well known and famous for years.

       25.     In Under Armour, Inc. v. Bode, Opp. No. 91178653 (TTAB May 21, 2009), the

Trademark Trial and Appeal Board of the United States Patent and Trademark Office (PTO)

expressly acknowledged the fame of the UNDER ARMOUR mark.

       26.     Under Armour owns, among others, the following valid and subsisting U.S.

federal trademark registrations for its UNDER ARMOUR marks (printouts from the PTO

database are attached as Exhibit A):




                                                 8
    Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 9 of 29



    Mark          Reg.     Reg.                Products/Services
                  No.      Date
UNDER ARMOUR    2279668   09/21/99 Clothing, namely, t-shirts, long sleeve
                                   shirts, mock turtle necks, hats, shorts,
                                   shirts, leggings, jersey’s, pants,
                                   headwear for winter and summer, under
                                   wear, tank tops (male and female),
                                   winter caps, sweat shirts/pull overs,
                                   women’s bra in Class 25

UNDER ARMOUR    4225998   10/16/12 Bandanas; Baseball shoes; Basketball
                                   sneakers; Beachwear; Bib overalls for
                                   hunting; Bikinis; Camouflage gloves;
                                   Camouflage jackets; Camouflage pants;
                                   Camouflage shirts; Camouflage vests;
                                   Cleats for attachment to sports shoes;
                                   Fishing shirts; Football shoes; Golf
                                   shorts; Hunting jackets; Hunting pants;
                                   Hunting shirts; Men’s dress socks;
                                   Sneakers; Swimwear; Volleyball
                                   jerseys; Yoga pants; Yoga shirts in
                                   Class 25

UNDER ARMOUR    3052160   01/31/06 Gloves in Class 25; Chin strap pads for
                                   use with protective helmets in Class 9;
                                   toiletry kits, sold empty in Class 18;
                                   sports bottles, sold empty in Class 21;
                                   lanyards for holding mouthpieces, water
                                   bottles, eyeglasses, badges, or keys in
                                   Class 22; sports towels in Class 24;
                                   gloves in Class 25

UNDER ARMOUR    3638277   06/16/09 Online retail store services featuring apparel,
                                   footwear, sporting goods, eyewear, headwear,
                                   wrist bands, sweat bands, belts, gloves, hand-
                                   warmers, plastic water bottles sold empty,
                                   watches, sports bags, tote bags, travel bags,
                                   backpacks, golf bags, messenger bags, duffel
                                   bags, shoe bags for travel, toiletry bags sold
                                   empty, wheeled bags, waist packs, sling bags,
                                   umbrellas, towels, posters; mobile retail store
                                   services featuring apparel, footwear, and sporting
                                   goods in Class 35

UNDER ARMOUR    3700135   10/20/09 Clothing for athletic use, namely,
                                   padded shirts, padded pants, padded

                                    9
    Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 10 of 29



    Mark          Reg.     Reg.                 Products/Services
                  No.      Date
                                     shorts, padded elbow compression
                                     sleeves in Class 25; Golf bags; bags
                                     specially adapted for sports equipment;
                                     golf gloves; batting gloves; football
                                     gloves; lacrosse gloves; mouth guards
                                     for athletic use; cases for holding
                                     athletic mouth guards; athletic
                                     equipment, namely, guards for the lips;
                                     chin pads for athletic use; knee pads for
                                     athletic use; elbow pads for athletic use;
                                     forearm pads for athletic use; shin
                                     guards for athletic use; football girdles;
                                     jock straps in Class 28

UNDER ARMOUR    4380298   08/06/13 Light duty utility gloves; Reusable
                                   plastic water bottles sold empty;
                                   Reusable stainless steel water bottles
                                   sold empty; Sports bottles sold empty;
                                   Squeeze bottle sold empty; Vacuum
                                   bottles; Water bottles sold empty; Work
                                   gloves in Class 21

UNDER ARMOUR    4143498   05/15/12 Lacrosse sticks; lacrosse stick heads;
                                   lacrosse stick shafts; lacrosse stick
                                   handles; lacrosse gloves; lacrosse arm
                                   guards; lacrosse shoulder pads; lacrosse
                                   elbow pads; and replacement parts for
                                   the foregoing goods in Class 28

                3081173   04/18/06 Gloves in Class 25; Toiletry kits, sold
                                   empty, in Class 18;



                3138451   09/05/06 Clothing, namely, gloves and shirts in
                                   Class 25


                3663142   08/04/09 Full line of athletic clothing, headwear,
                                   footwear, gloves in Class 25

UNDER ARMOUR    3712052   11/17/09 Ankle socks, athletic uniforms, baseball caps,
                                   baseball shoes, baseball uniforms, baselayer
                                   bottoms, baselayer tops, beach footwear, boxer

                                   10
         Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 11 of 29



         Mark               Reg.       Reg.                 Products/Services
                            No.        Date
                                                 briefs, boxer shorts, briefs, capri pants,
                                                 children’s headwear, coats, dresses, fleece
                                                 pullovers, football shoes, footwear, foul weather
                                                 gear, golf caps, golf shirts, golf trousers, hooded
                                                 pullovers, hunting vests, jogging pants, knit
                                                 shirts, men’s socks, mittens, moisture-wicking
                                                 sports bras, moisture-wicking sports pants,
                                                 moisture-wicking sports shirts, polo shirts, rain
                                                 jackets, rain trousers, rainproof jackets,
                                                 rainwear, running shoes, short-sleeved or long-
                                                 sleeved t-shirts, short-sleeved shirts, ski bibs,
                                                 ski gloves, ski jackets, ski pants, ski wear,
                                                 skorts, sleeveless jerseys, snow pants,
                                                 snowboard gloves, snowboard mittens,
                                                 snowboard pants, soccer boots, sport shirts,
                                                 sports bras, sports jerseys, sports pants, sports
                                                 shirts, sweat bands, sweat pants, tennis wear,
                                                 thongs, thongs, training shoes, undershirts,
                                                 unitards, visors, waterproof jackets and pants,
                                                 wind pants, wind resistant jackets, wind shirts,
                                                 in Class 25

  UNDER ARMOUR           3642614      06/23/09 Full line of athletic clothing in Class 25



       27.     Under Armour also owns, among others, the following valid and subsisting U.S.

trademark registrations for the ARMOUR mark per se, and other ARMOUR Marks, including

for fishing clothing and safety/protective gear (printouts from the PTO database are attached as

Exhibit B):

          Mark           Reg. No.      Reg.                     Products/Services
                                       Date
ARMOURED                 4443976 12/3/2013       Fishing shirts; moisture-wicking sports
                                                 shirts; shirts; short-sleeved shirts; t-shirts;
                                                 tops in Class 25




                                               11
      Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 12 of 29



       Mark       Reg. No.    Reg.                    Products/Services
                              Date
ARMOUR            3720012 12/01/09      Clothing, excluding golf clothing, namely,
                                        hooded sweat shirts, crew neck shirts, long
                                        sleeve shirts, pullover shirts, and sweat pants
                                        in Class 25

ARMOUR            3970978 05/31/11      Footwear, excluding golf footwear in
                                        Class 25

ARMOUR            3766130 03/30/2010 Protective athletic cups, in Class 28

ARMOUR            4133248 04/24/12      Clothing, excluding golf clothing, namely,
                                        headwear, hats, caps, baseball caps, beanies
                                        and bras, in Class 25

ARMOUR            3963256 05/17/2011 Knee pads for athletic use, in Class 28

ARMOUR            3392904 03/04/08      Clothing, excluding golf clothing, namely,
                                        shorts, shirts, polo shirts, pants, jackets, vests
                                        and gloves in Class 25

ARMOUR STRETCH    3504324 09/23/08      Jackets, pullovers, and gloves in Class 25

ARMOURSTORM       3622968 05/19/09      Bib overalls, coats, gloves, jackets, mittens,
                                        pants in Class 25

ARMOUR            3684393 09/15/09      Football gloves in Class 28
GRABTACK
ARMOURBLOCK       3069215 03/14/06      Gloves, socks, hoods, shirts, T-shirts,
                                        leggings, pants, underwear, and tank tops in
                                        Class 25

GAMEDAY ARMOUR 4094318 01/31/12         Clothing, namely, shirts, t-shirts, short-
                                        sleeved shirts, shorts; clothing for athletic
                                        use, namely, padded shorts; clothing for
                                        athletic use, namely, padded shirts in
                                        Class 25

MY ARMOUR         4443975 12/3/2013     Moisture-wicking sports shirts; shirts; short-
                                        sleeved shirts; t-shirts; tops in Class 25

ARMOURFUSION      3646904 06/30/09      Sunglasses in Class 9




                                      12
        Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 13 of 29



        Mark            Reg. No.    Reg.                    Products/Services
                                    Date
ARMOURLOFT              3662480 08/04/09      Jackets; Vests in Class 25

ARMOURCHILL             4112397 03/13/12      Clothing, namely, beanies, hats, headwear,
                                              vests in Class 25

ARMOURSIGHT             3861988 10/12/10      Eyewear; sunglasses; lenses for sunglasses in
                                              Class 9

ARMOURGRIP              3880602 11/23/10       Leggings; Longsleeved shirts; Moisture-
                                              wicking sports shirts; Pants; Shirts; Short-
                                              sleeved shirts; Socks; T-shirts in Class 25

ARMOURFIT               3938546 03/29/11      Socks in Class 25

ARMOURVENT              4642057 11/18/14      Athletic shirts; athletic shorts; baselayer
                                              bottoms; baselayer tops; bottoms; capri
                                              pants; capris; caps; compression garments for
                                              athletic or other non-medical use, namely,
                                              shirts, shorts; hats; headwear; jackets;
                                              leggings; long-sleeved shirts; shirts; short-
                                              sleeved shirts; shorts; singlets; sports shirts;
                                              t-shirts; tank tops; tank-tops; tops; track
                                              jackets; vests in Class 25

      28.     Under Armour also owns the following valid and subsisting Maryland trademark

registrations for its famous UNDER ARMOUR mark, among others:

            Mark              Reg./  Reg./Filing           Products/Services
                            App. No.   Date
   UNDER ARMOUR          2009-0055 05/01/09      Footwear, athletic footwear,
                                                 clothing, namely, shirts, shorts,
                                                 pants, headwear, hats, baseball hats,
                                                 caps, t-shirts, long sleeve shirts,
                                                 short sleeve shirts, polo shirts,
                                                 sweatpants, sweatshirts, hooded
                                                 sweatshirts, jerseys, turtle necks,
                                                 mock turtle necks, pullovers,
                                                 underwear, brassieres, headbands,
                                                 wristbands, socks, athletic socks,
                                                 dress socks, skirts, skorts, athletic
                                                 sleeves, hoods, skull wraps, skull
                                                 caps, vests, leggings, tank tops, bras,
                                                 sports bras, girdles, gloves, belts,

                                            13
   Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 14 of 29



                                        hand-warmers, jackets, coats,
                                        unitards, baby clothing, bib overalls,
                                        snow pants, moisture-wicking shirts,
                                        compression shirts, compression
                                        pants, compression shorts, long
                                        underwear; full line of athletic
                                        clothing; clothing for athletic use,
                                        namely, padded shirts, padded pants,
                                        padded shorts, padded elbow
                                        compression sleeves in Class 39
UNDER ARMOUR     2009-0057   05/01/09   Chin straps for use with
                                        protective helmets, sports
                                        gloves, golf gloves, batting
                                        gloves, football gloves,
                                        lacrosse gloves, mouth
                                        guards for athletic use,
                                        athletic equipment, namely,
                                        guards for the lips, chin pads
                                        for athletic use, knee pads for
                                        athletic use, elbow pads for
                                        athletic use, forearm pads for
                                        athletic use, shin guards for
                                        athletic use, football girdles,
                                        protective athletic cups, jock
                                        straps, sports bottles, sold
                                        empty in Class 22
UNDER ARMOUR     2009-0059   05/01/09   Bags, sport bags, travel bags,
                                        duffel bags, backpacks, sack
                                        pacs, reservoir backpacks,
                                        toiletry kits, sold empty, golf
                                        bags, bags specially adapted
                                        for sports equipment in Class
                                        3
UNDER ARMOUR     2009-0058   05/01/09   Retail, online retail, and
                                        mobile retail store services
                                        featuring apparel, footwear,
                                        sporting goods, and
                                        accessories in Class 53




                                  14
         Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 15 of 29



    UNDER ARMOUR           2009-0056     05/01/09       Sunglasses, lenses for
                                                        sunglasses, visors for use
                                                        with helmets, watches,
                                                        lanyards for holding
                                                        mouthpieces, water bottles,
                                                        eyeglasses, badges, or keys,
                                                        magnetic coded gift cards,
                                                        electronic gift cards, sports
                                                        towels in Class 50
    UNDER ARMOUR           2009-0056     05/1/2009      Water bottles

                            Defendant and Its Wrongful Activities

       29.     Without Under Armour’s authorization and approval, Defendant has been

offering, selling, and promoting clothing (including performance clothing, fishing clothing,

camouflage clothing, T-shirts, shorts, swimwear, sweatshirts, and rain gear), accessories

(including hats and backpacks), wristbands, beach towels, decals, and other products under the

SALT ARMOUR name and mark:




                                               15
Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 16 of 29




                              16
         Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 17 of 29




       30.     In around January 2012, Defendant registered the domain name saltarmour.com

with the GoDaddy.com, LLC domain name registrar. Defendant has been operating a website at

http://www.saltarmour.com/, where it promotes and sells its clothing, accessories, gear, and other

products under the SALT ARMOUR name and mark.

       31.     Without Under Armour’s authorization or approval, Defendant has also been

offering, selling, and promoting apparel (including performance gear, camouflage clothing,

jackets, pants, shirts, and sweatshirts, among other products), footwear, accessories, and tactical

gear under the DEFENSE ARMOUR name and mark:




                                                 17
         Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 18 of 29




       32.     In around March 2014, Defendant registered the domain name

defensearmour.com with the GoDaddy.com, LLC domain name registrar. Defendant has been

operating a website at http://www.defensearmour.com, where it promotes and sells its clothing,

accessories, tactical gear, and other products under the DEFENSE ARMOUR name and mark.

       33.     Like Under Armour, Defendant promotes its ARMOUR marks on the Internet and

specifically via social media.




                                              18
        Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 19 of 29



      34.    Additionally, like Under Armour, Defendant disseminates football-themed

advertising in connection with the SALT ARMOUR name, mark, and products, e.g.:




      35.    Moreover, like Under Armour, who sponsors and promotes the “Under Armour

Fishing Team,” Defendant promotes a “Salt Armour Fishing Team”:

                                    Under Armour Fishing Team




                                           19
Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 20 of 29




                        Salt Armour Fishing Team




                               20
         Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 21 of 29




       36.     Defendant filed U.S. Trademark Application Serial No. 86187021 for the mark

SALT ARMOUR for “clothing, namely, shirts, caps, pants, jackets” in International Class 25 and

“salt water fishing gear, namely, fishing rods, fishing rod accessories, namely, fishing rod

holders, fishing gimbal mounts” in International Class 28 with the PTO.

       37.     Defendant filed U.S. Trademark Application Serial No. 86262258 for the mark

DEFENSE ARMOUR for “clothing, namely, shirts, caps, pants, jackets” in International Class

25 with the PTO.

       38.     Under Armour opposed U.S. Trademark Application Nos. 86187021 and

86262258 before the Trademark Trial and Appeal Board. That action, titled Under Armour, Inc.

v. Salt Armour, Inc., was assigned Opposition No. 91217656.

       39.     Under Armour has repeatedly asked Defendant to stop its infringing conduct, but

Defendant refused.




                                                21
         Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 22 of 29



       40.     Fully aware of Under Armour’s rights, Defendant has acted knowingly, willfully,

in reckless disregard of those rights, and in bad faith.

                     INJURY TO UNDER ARMOUR AND THE PUBLIC

       41.     Defendant’s unauthorized use of the SALT ARMOUR and DEFENSE ARMOUR

marks (and its applications for those marks) are likely to cause confusion, mistake, and deception

as to the source or origin of Defendant’s products, and are likely to falsely suggest a sponsorship,

connection, or association between Defendant, its products, and/or its commercial activities with

Under Armour.

       42.     Defendant’s unauthorized use of the SALT ARMOUR and DEFENSE ARMOUR

marks (and its applications for those marks) are likely to dilute the distinctiveness and value of

Under Armour’s famous UNDER ARMOUR mark.

       43.     Defendant’s acts, described above, have damaged and irreparably injured and, if

permitted to continue, will further damage and irreparably injure Under Armour and its

ARMOUR Marks.

       44.     Defendant’s acts, described above, have irreparably injured, and, if permitted to

persist, will continue to irreparably injure the public, who has an interest in being free from

confusion, mistake, and deception.

                               FIRST CLAIM FOR RELIEF
                              Trademark Infringement Under
                    Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1)

       45.     Under Armour repeats and realleges each and every allegation set forth in

Paragraphs 1 through 44 of this Complaint.

       46.     Without Under Armour’s consent, Defendant used and continues to use in

commerce reproductions, copies, and colorable imitations of Under Armour’s registered



                                                  22
         Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 23 of 29



ARMOUR Marks in connection with the offering, distribution, and advertising of goods, which

is likely to cause confusion, or to cause mistake, or to deceive, in violation of Section 32(1) of

the Lanham Act, 15 U.S.C. § 1114(1).

                            SECOND CLAIM FOR RELIEF
                       Trademark Infringement, False Designation
                     of Origin, Passing Off, and Unfair Competition
          Under Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A)

       47.     Under Armour repeats and realleges each and every allegation set forth in

Paragraphs 1 through 46 of this Complaint.

       48.     Defendant’s actions, as described above, are likely to cause confusion, or to cause

mistake, or to deceive as to the origin, sponsorship, or approval of Defendant, its products,

and/or its commercial activities by or with Under Armour, and thus constitute trademark

infringement, false designation of origin, passing off, and unfair competition in violation of

Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A).

                               THIRD CLAIM FOR RELIEF
                               Trademark Dilution Under Section
                          43(c) of the Lanham Act, 15 U.S.C. § 1125(c)

       49.     Under Armour repeats and realleges each and every allegation set forth in

Paragraphs 1 through 48 of this Complaint.

       50.     Under Armour’s UNDER ARMOUR mark is famous, as that term is used in 15

U.S.C. § 1125(c), and was famous before Defendant’s first use of the SALT ARMOUR and/or

DEFENSE ARMOUR marks (or the filing dates for the trademark applications for those marks),

based on, among other things, the inherent distinctiveness and federal registration of Under

Armour’s UNDER ARMOUR mark and the extensive nationwide use, advertising, promotion,

and recognition of that mark.




                                                 23
          Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 24 of 29



         51.   Defendant’s actions, as described above, are likely to dilute the distinctive quality

of Under Armour’s famous UNDER ARMOUR mark by blurring in violation of Section 43(c) of

the Lanham Act, 15 U.S.C. §1125(c), as amended by the Trademark Dilution Revision Act of

2006.

                               FOURTH CLAIM FOR RELIEF
                                Cybersquatting Under Section
                         43(d) of the Lanham Act, 15 U.S.C. § 1125(d)

         52.   Under Armour repeats and realleges each and every allegation set forth in

Paragraphs 1 through 51 of this Complaint.

         53.   Defendant caused to be registered, registered, and/or used the saltarmour.com and

defensearmour.com domain names with a bad-faith intent to profit from Under Armour’s

ARMOUR Marks.

         54.   Under Armour’s ARMOUR Marks were distinctive at the time Defendant caused

to be registered, registered, and/or used the saltarmour.com and defensearmour.com domain

names.

         55.   Under Armour’s UNDER ARMOUR mark was famous at the time Defendant

caused to be registered, registered, and/or used the saltarmour.com and defensearmour.com

domain names.

         56.   The saltarmour.com and defensearmour.com domain names are confusingly

similar to Under Armour’s ARMOUR Marks.

         57.   The saltarmour.com and defensearmour.com domain names are dilutive of Under

Armour’s UNDER ARMOUR mark.

         58.   Defendants’ actions, as described above, violate Section 43(d) of the Lanham Act,

15 U.S.C. § 1125(d).



                                                24
         Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 25 of 29



                                FIFTH CLAIM FOR RELIEF
                               Trademark Infringement Under
                               Md. Code Bus. Reg. § 1-414 et seq.

       59.      Under Armour repeats and realleges each and every allegation set forth in

Paragraphs 1 through 58 of this Complaint.

       60.      Defendant’s use, without the consent of Under Armour, of a reproduction and/or

colorable imitation of Under Armour’s registered ARMOUR Marks in connection with the sale,

offering for sale, and/or advertising of goods or services, is likely to cause confusion, or to

deceive as to the origin of the goods or services, and thus constitutes trademark infringement in

violation of Md. Code Bus. Reg. § 1-414 et seq.

       61.      Defendant’s reproduction and/or colorable imitation of Under Armour’s

registered ARMOUR Marks and application of that reproduction and/or colorable imitation to

Defendant’s advertising, labels, prints, receptacles, signs, or wrappers that are intended to be

used with goods or services and/or in conjunction with the sale or other distribution of goods or

services in Maryland constitutes trademark infringement in violation of Md. Code Bus. Reg. § 1-

414 et seq.

                               SIXTH CLAIM FOR RELIEF
              Trademark Infringement, False Advertising, and Unfair Competition
                               Under Maryland Common Law

       62.      Under Armour repeats and realleges each and every allegation set forth in

Paragraphs 1 through 61 of this Complaint.

       63.      Defendant’s actions, as described above, are likely to cause confusion, or to cause

mistake, or to deceive as to the affiliation, connection, or association of Defendant with Under

Armour, or as to the origin, sponsorship, or approval of Defendant, its products, and its

commercial activities by or with Under Armour such that Defendant’s acts constitute



                                                 25
         Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 26 of 29



infringement of Under Armour’s proprietary rights in its ARMOUR Marks, misappropriation of

Under Armour’s goodwill in those marks, and unfair competition under Maryland common law.

        64.     Defendant’s actions, as described above, constitute false and misleading

descriptions and misrepresentations of fact in commerce, which, in commercial advertising and

promotion, materially misrepresent the nature, characteristics, and qualities of Defendant’s

products and constitute false and deceptive advertising under Maryland common law.

                                          JURY DEMAND
        Pursuant to Fed. R. Civ. P. 38, Under Armour respectfully demands a trial by jury on all

issues properly triable by a jury in this action.

                                      PRAYER FOR RELIEF

        WHEREFORE, Under Armour respectfully requests that this Court enter judgment in its

favor on each and every claim for relief set forth above and award it relief, including but not

limited to the following:

        A.      An Order declaring that Defendant’s use of (and applications for) the SALT

ARMOUR and/or DEFENSE ARMOUR marks infringe Under Armour’s ARMOUR Marks,

dilute Under Armour’s UNDER ARMOUR mark, and constitute unfair competition under

federal and/or state law, as detailed above;

        B.      A permanent injunction enjoining Defendant and its employees, agents, partners,

officers, directors, owners, shareholders, principals, subsidiaries, related companies, affiliates,

distributors, dealers, and all persons in active concert or participation with any of them:

                1.      From using, registering, or seeking to register Defendant’s SALT

        ARMOUR and/or DEFENSE ARMOUR marks in any form, including but not limited to

        in connection with any other wording or designs, and from using any other marks, logos,




                                                    26
         Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 27 of 29



        designs, designations, or indicators that are confusingly similar to any of Under Armour’s

        ARMOUR Marks and/or dilutive of Under Armour’s UNDER ARMOUR mark;

               2.      From representing by any means whatsoever, directly or indirectly, that

        Defendant, any products or services offered by Defendant, or any activities undertaken by

        Defendant, are associated or connected in any way with Under Armour or sponsored by

        or affiliated with Under Armour in any way;

               3.      From assisting, aiding or abetting any other person or business entity in

        engaging in or performing any of the activities referred to in subparagraphs B(1)-(2);

        C.     An Order directing Defendant to destroy all products, packaging, signage,

advertisements, promotional materials, stationery, forms, and/or any other materials and things

that contain or bear Defendant’s SALT ARMOUR and/or DEFENSE ARMOUR marks or any

other marks, logos, designs, designations, or indicators that are confusingly similar to any of

Under Armour’s ARMOUR Marks and/or dilutive of Under Armour’s UNDER ARMOUR

mark;

        D.     An Order directing the Director of the PTO to abandon Application Serial No.

86187021 for the mark SALT ARMOUR and Application Serial No. 86262258 for the mark

DEFENSE ARMOUR with prejudice;

        E.     An Order directing Defendant (and the relevant registrar) to transfer to Under

Armour the saltarmour.com and defensearmour.com domain names and all other domain names

Defendant owns or controls that contain any of Under Armour’s ARMOUR Marks (including

but not limited to any domain names comprised of or containing ARMOUR or ARMOR), any

marks confingly similar to any of Under Armour’s ARMOUR Marks, and/or any marks dilutive

of Under Armour’s UNDER ARMOUR mark;



                                                27
            Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 28 of 29



       F.       An Order requiring Defendant to disseminate pre-approved corrective advertising

and send pre-approved letters to all customers, resellers, retailers, agents, partners, and/or

representatives to address the likely confusion and dilution caused by use of the SALT

ARMOUR and DEFENSE ARMOUR names/marks and the saltarmour.com and

defensearmour.com domain names.

       G.       An Order directing that, within thirty (30) days after the entry of the injunction,

Defendant file with this Court and serve on Under Armour’s attorneys a report in writing and

under oath setting forth in detail the manner and form in which Defendant has complied with the

injunction;

       H.       An Order requiring Defendant to account for and pay to Under Armour any and

all profits arising from the foregoing acts, and increasing such profits, in accordance with 15

U.S.C. § 1117 and other applicable laws, including but not limited to Md. Code Bus. Reg.

§ 1-414 et seq.;

       I.       An Order requiring Defendant to pay statutory damages under 15 U.S.C.

§ 1117(d), on election by Under Armour, in an amount of one hundred thousand dollars

($100,000) for the registration and use of the saltarmour.com domain name;

       J.       An Order requiring Defendant to pay statutory damages under 15 U.S.C.

§ 1117(d), on election by Under Armour, in an amount of one hundred thousand dollars

($100,000) for the registration and use of the defensearmour.com domain name;

       K.       An Order requiring Defendant to pay Under Armour damages in an amount as yet

undetermined caused by the foregoing acts, and trebling such damages in accordance with 15

U.S.C. § 1117 and other applicable laws, including but not limited to Md. Code Bus. Reg.

§ 1-414 et seq.;



                                                 28
         Case 1:15-cv-00095-JFM Document 1 Filed 01/12/15 Page 29 of 29



       L.      An Order requiring Defendant to pay Under Armour all of its litigation expenses,

including reasonable attorneys’ fees and the costs of this action pursuant to 15 U.S.C. § 1117 and

other applicable laws;

       M.      An Order requiring Defendant to pay Under Armour punitive damages for

trademark infringement and unfair competition under Maryland common law; and

       N.      Other relief as the Court may deem appropriate.

Dated: January 12, 2015                          Respectfully submitted,



                                                 /s/ Douglas A. Rettew
                                                 Douglas A. Rettew (29815)
                                                 Danny M. Awdeh
                                                 (pro hac vice in process)
                                                 Anna B. Naydonov
                                                 (pro hac vice in process)
                                                 FINNEGAN, HENDERSON,
                                                   FARABOW, GARRETT &
                                                 DUNNER, L.L.P.
                                                 901 New York Avenue, N.W.
                                                 Washington, D.C. 20001-4413
                                                 (202) 408-4000 (phone)
                                                 (202) 408-4400 (fax)
                                                 Email: doug.rettew@finnegan.com
                                                 Email: danny.awdeh@finnegan.com
                                                 Email: anna.naydonov@finnegan.com

                                                 Attorneys for Plaintiff
                                                 Under Armour, Inc.




                                               29
